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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 CYNTHIA STELLA, and the ESTATE OF
 HEATHER MILLER,                                     MEMORANDUM DECISION AND
                                                     ORDER DENYING PLAINTIFFS’
                        Plaintiffs,                MOTION FOR SUMMARY JUDGMENT
 v.                                                  AND GRANTING IN PART AND
                                                    DENYING IN PART DEFENDANTS’
 DAVIS COUNTY, SHERIFF TODD                        MOTION FOR SUMMARY JUDGMENT
 RICHARDSON, MAVIN ANDERSON, and
 JAMES ONDRICEK,                                              Case No. 1:18-CV-002

                        Defendants.                         District Judge Jill N. Parrish



       Plaintiff Cynthia Stella (“Stella”) filed suit on behalf of her deceased daughter Heather

Miller (“Miller”), who died while in the custody of the Davis County Jail. Stella and the Estate of

Heather Miller (“Plaintiffs”) filed a Motion for Partial Summary Judgment asking the court to

grant judgment in their favor on their two federal claims brought under 42 U.S.C. § 1983, which

assert violations of Miller’s Eighth and/or Fourteenth Amendment rights. Defendants Davis

County, Sheriff Todd Richardson, Nurse Mavin Anderson, and Nurse James Ondricek

(“Defendants”) oppose the motion, contesting certain statements of material fact and objecting

under Fed. R. Civ. P. 56(c)(2) to certain evidence on which Plaintiffs rely. Defendants also filed

a Cross-Motion for Partial Summary Judgment seeking dismissal of the federal claims on grounds

of qualified immunity and asking that the court decline to exercise supplemental jurisdiction over

Plaintiffs’ remaining state law claim.
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                                       I.      BACKGROUND

      A. FACTUAL HISTORY 1

         On December 20, 2016, twenty-eight-year-old Heather Ashton Miller (“Miller”) was

booked into the Davis County Jail. She was assigned to a top bunk in the Kilo housing unit. On

December 21, 2016, around 6:00 pm, Miller fell from the top bunk and landed on the concrete

floor. Deputy Lloyd, who was the first to respond to the scene, witnessed Miller writhing on the

floor. Miller’s cellmate, Sherry Ackerman, informed Deputy Lloyd that Miller had slipped on the

ladder while trying to get out of the bunk for the headcount and hit her head on the floor. When

Ackerman tried to help Miller up, she fell again and hit her left side on a table. Deputy Lloyd called

medical. Corporal Johnson also responded to the scene. Miller told Corporal Johnson that her ribs

were hurting and that she was unable to breathe. Nurse Anderson arrived shortly after Corporal

Johnson. Nurse Anderson and Corporal Johnson helped Miller off the floor and onto her cellmate’s

bed, where she laid down.

         Although Nurse Anderson had been called to perform an initial assessment of Miller, he

did not bring any medical equipment with him. Miller told Nurse Anderson her side hurt and that

she felt nauseous and dizzy. Nurse Anderson asked her if she was coming off of drugs. Miller

responded “meth.” Nurse Anderson evaluated her head, neck and spine, and palpated her side.

Miller did not obviously react to any spot in particular but kept stating that she hurt over and over.

Nurse Anderson then inspected her for any obvious injury, such as bleeding or contusions, but



1
  Although the court would ordinarily “construe the facts underlying the grant of summary
judgment in the light most favorable to . . . the non-moving party,” Schneider v. City of Grand
Junction Police Dep’t, 717 F.3d 760, 763 (10th Cir. 2013), in this case, the parties have filed cross-
motions for summary judgment. The court therefore provides a neutral summary of the facts,
which it will view “in the light most favorable to the nonmoving party” and “draw reasonable
inferences therefrom” while evaluating the motions in turn. Doe v. City of Albuquerque, 667 F.3d
1111, 1122 (10th Cir. 2012) (citations omitted).
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there were no visible external injuries. He did not take her vitals. Nurse Anderson concluded

Miller’s dizziness must be from methamphetamine withdrawal and gave her ibuprofen. 2

         Nurse Anderson decided that Miller should be moved to a different cell. A patient who has

suffered a potentially serious injury or is suffering from withdrawal would normally be transferred

to medical. However, medical was crowded, and the only available bunk was in a room with

another inmate who was vomiting. Nurse Anderson and Corporal Johnson decided to transfer

Miller to the “Lima unit” where she would have her own cell and a bottom bunk.

         Miller got up and put on her shoes unassisted. However, once outside of her cell, Miller

repeated that she felt dizzy and was unable to walk on her own. Nurse Anderson and Corporal

Johnson then assisted Miller to the stairs. It took her twenty seconds to walk twenty feet. When

they reached a flight of stairs, Nurse Anderson went to get a wheelchair while Corporal Johnson

had Miller sit at the top of the stairs. Johnson then suggested that Miller “scoot down” rather than

walk down the stairs. Miller lowered herself down the stairs, step-by-step, in a seated position. At

the bottom of the stairs, Miller was able to stand and walk a few steps to the wheelchair. She was

assisted into the wheelchair. She was listless and tired and very quiet. Nurse Anderson wheeled

Miller to the Lima unit where she was placed on a bottom bunk. Nurse Anderson scheduled a

doctor appointment for the following day. Nurse Anderson told Miller to call medical if her

condition worsened, but he did not return to check on her or schedule any medical check-ins that

evening.

         Deputy Lloyd and Corporal Johnson went to retrieve Miller’s bedding and effects from the

Kilo unit. When they returned, Miller was no longer on the bed, but was lying on the floor with




2
 Neither Plaintiffs nor Defendants have offered any evidence as to the symptoms associated with
methamphetamine withdrawal.
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her head on her shirt. She did not respond to the officers and they thought she was exhibiting signs

of someone detoxing from methamphetamine. Officers performed wellbeing checks at 6:33 pm

and 7:32 pm. Miller remained on the floor. She did not respond to officers. However, at

approximately 8:20 pm, when Deputy Lloyd went to bring toilet paper to Miller’s cell, he saw her

lying, mostly naked, on the floor. He noticed blood on her chin. He asked if she were okay. She

gave him a wave. He did not enter her cell.

       Deputy Lloyd then called medical. Nurse Layton answered the phone and asked if there

were any signs of a new injury. Deputy Lloyd said Miller had taken her clothes off but appeared

to be moving and breathing. Nurse Layton told Deputy Lloyd not to worry about her. Nurse

Anderson was in the room with Nurse Layton, but was not aware that Nurse Layton and Deputy

Lloyd were talking about Miller and did not hear the full conversation.

       Clerk Rogers called into Miller’s cell. Miller did not respond. Deputy Lloyd stopped

Deputy Lucius. They called Sergeant Wall, a female officer, to come check on Miller. Sergeant

Wall arrived. Sergeant Wall said Miller had her leg propped on the toilet. Sergeant Wall saw blood

on Miller’s forearms and a one-inch gash on her chin. Sergeant Wall asked Miller to get dressed,

but Miller would not stand up. She kept rolling around and moaning. The officers observed that

she was cold, sweating, and pale in color.

       Sergeant Wall called medical. Medical told her to bring Miller to them. Sergeant Wall told

Deputy Lloyd and Deputy Lucius that they were moving Miller to medical. Deputy Lucius went

to fetch a wheelchair. Corporal Johnson arrived on scene. Corporal Johnson, Deputy Lucius,

Deputy Lloyd, and Sergeant Wall placed Miller in the wheelchair. Miller appeared to start seizing.

       The officers brought Miller to medical. When they arrived, Miller was gray and totally

flaccid. Nurse Anderson testified that she appeared dead. He told Sergeant Wall to call an



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ambulance. Miller slipped from the wheelchair and they placed her on the floor. Nurse Anderson

took her blood pressure and her pulse. He attempted to give her oxygen. Miller started thrashing

on the floor and kept pulling the oxygen mask off. She was screaming in pain. The ambulance and

EMTs arrived at approximately 8:50 pm and left for the hospital at 9:03 pm.

       Miller went into cardiac arrest on her way to the hospital. She was pronounced dead at

10:06 pm. The medical examiner reported that Miller died from blunt force trauma to her side,

which resulted in a complete transection of her spleen and 1.3 liters of internal bleeding. Miller’s

mother, Stella Davis, and Miller’s estate filed suit against Davis County, Sheriff Richardson, Nurse

Ondricek, and Nurse Anderson on January 3, 2018 seeking to recover for Miller’s death under 28

U.S.C. § 1983 and the Utah State Constitution.

   B. MATERIAL FACTS

       Plaintiffs submitted 74 allegedly undisputed material facts in support of their motion for

summary judgment. Defendants contested 43 of those facts and included an additional 59 allegedly

undisputed material facts in their opposition. Defendants also objected to the court considering

certain exhibits and facts on grounds of hearsay, lack of foundation, lack of relevance, and lack of

probative value under Fed. R. Civ. P. 56(c)(2). Plaintiffs then replied to eleven of Defendants’

responses and objected to Defendants’ additional facts that were based upon a medical report by

Defendants’ expert, Kennon Tubbs, M.D. (“Dr. Tubbs”). In reply, Defendants ask the court to

deem admitted their additional facts to which Plaintiffs did not respond. Under Fed. R. Civ. P.

56(e)(2), when a party does not contest a fact offered by the opposing party, the court may

“consider the fact undisputed for purposes of the motion,” but the court is not required to do so.

The court declines to do so here because, having exercised its discretion under Fed. R. Civ. P.

56(c)(3) to “consider other materials in the record,” the court has identified those facts that are

actually in dispute.
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      C. EVIDENTIARY OBJECTIONS

          Under Fed. R. Civ. P. 56(c)(2), “[a] party may object that the material cited to support or

dispute a fact cannot be presented in a form that would be admissible in evidence.” But that “does

not mean that [summary judgment] evidence must be submitted ‘in a form that would be

admissible at trial.’” Trevizo v. Adams, 455 F.3d 1155, 1160 (10th Cir. 2006) (quoting Celotex

Corp. v. Catrett, 477 U.S. 317, 324 (1986). Rather, only “the content or substance of the evidence

must be admissible.” Brown v. Perez, 835 F.3d 1223, 1232 (10th Cir. 2016) (quoting Thomas v.

IBM, 48 F.3d 478, 485 (10th Cir. 1995)). Defendants object to certain exhibits and facts on which

Plaintiffs rely on grounds of hearsay, lack of foundation, lack of relevance, and lack of probative

value. The court addresses these objections below.

          1. Objections Based on Hearsay and Lack of Foundation

          In their opposition, Defendants object on grounds of hearsay and lack of foundation to five

exhibits on which Plaintiffs rely (Exhibit 10, Dr. Starr’s Expert Report; Exhibit 11, Nurse Schultz’s

Expert Report; Exhibit 16, Todd Vinger’s Expert Report; Exhibit 20, Clerk Austin Rogers’

interview with a representative of the Attorney General’s Office; and Exhibit 21, Nurse Daniel

Layton’s interview with a representative of the Attorney General’s Office) and four facts identified

in Plaintiffs’ Motion for Summary Judgment (¶¶ 23, 33, 44, and 62). 3 But Defendants’ objections

are so conclusory and lacking in analysis that they entirely fail to allege why “the content or

substance of the evidence” (or even the evidence as submitted) would not be admissible at trial.

For example, in their response to paragraph 62 of Plaintiffs’ statements of fact, Defendants state:

“Objection based on hearsay (Rule 802) and the lack of foundation (Rule 901).” See Opp’n Mot.

S.J. at 22. And that is the extent of their objection. Defendants’ objections to three other statements



3
    Defendants also object to ¶ 33 for lack of relevance.
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of fact, see id. at 11 (objecting to ¶ 23 for lack of foundation) and 15–16 (objecting to ¶¶ 33 and

44 as hearsay and for lack of foundation), and Defendants’ objections to the five complete exhibits,

see id. at 5 n.1 (objecting on “basis of hearsay” and “lack of foundation”), are equally conclusory.

         Following oral argument on the cross-motions for summary judgment, the court ordered

supplemental briefing on Defendants’ previously asserted objections, noting that the objections

were conclusory and that it is the objecting party’s burden to “make its objection clear; the trial

judge need not imagine all the possible grounds for an objection.” Angelo v. Armstrong World

Indus., Inc., 11 F.3d 957, 960–61 (10th Cir. 1993). Defendants filed a supplemental response on

May 15, 2019. Plaintiffs responded on May 17, 2019. 4 On June 3, 2019, Defendants filed a motion

for leave to file additional objections. Having reviewed both parties’ supplemental briefing, the

court largely overrules Defendants’ objections and denies its motion for leave to file additional

objections. 5




4
 Plaintiffs attach three declarations by their experts, Deborah Schultz, Dr. Ken Starr, and Todd
Vinger affirming that, if called to testify at trial, they would testify to the facts and opinions
contained in their respective expert reports.
5
  Defendants argue that they should be allowed to file additional objections because Plaintiffs’
response, captioned “Supplemental Brief on Admissibility of Evidence,” was an unauthorized sur-
reply memorandum. But Plaintiffs’ response, regardless of the title, was not unauthorized. Indeed,
the court specifically ordered both parties to provide supplemental briefing on Defendants’
evidentiary objections and Plaintiffs’ Supplemental Brief was filed in response to that order. See
ECF No. 51. Defendants also argue that they should be able to address the declarations and
affidavits of Plaintiffs’ experts attached to Plaintiffs’ response brief because they were submitted
in an “attempt to correct the fatal flaws in [Plaintiffs’] initial submissions” and are therefore
unauthorized. But Plaintiffs’ burden under Fed. R. Civ. P. 56(c)(2) is to explain why “the material
is admissible as presented or to explain the admissible form that is anticipated.” Fed. R. Civ. P.
56(c)(2) adv. comm. cmt. The declarations and affidavits attached to Plaintiffs’ brief were
submitted in response to Defendants’ objections and are therefore proper.

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            a. Exhibit 10, Dr. Starr’s Expert Report

         Defendants object to Dr. Starr’s Expert Report on grounds of hearsay and lack of

foundation and argue that it should be excluded in its entirety. Defendants do not address why the

expert report and the statements contained therein constitute hearsay or lack foundation. Instead,

they argue that Dr. Starr will not be able to testify at trial because his expert opinions “are contrary

to the undisputed evidence.” But there is no rule of evidence requiring that expert testimony be

based only upon facts that are undisputed. 6 If that were the case, then Defendants’ expert Dr. Tubbs

would not be allowed to testify either. Dr. Starr has submitted an affidavit that he would testify at

trial to the opinions contained in his expert report. The court therefore overrules Defendants’

objections to Dr. Starr’s expert report at the summary judgment stage, including his testimony

regarding the symptoms of blood loss, because those statements can be presented in a form

admissible at trial. 7

            b. Exhibit 11, Nurse Schultz’s Expert Report

         Defendants object to Nurse Deborah Schultz’s Expert Report on grounds of hearsay and

lack of foundation. Again, they fail to explain why the statements in their current form, as part of

an expert report, constitute hearsay or lack foundation. Nevertheless, Defendants argue, assuming

that the evidence is inadmissible as offered, that Nurse Schultz may not testify because her

opinions go to whether Nurse Anderson violated state law or committed medical malpractice and



6
  On the other hand, an expert whose testimony is unreliable under the standard articulated in
Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) should be excluded. However, aside
from citing to Dodge v. Cotter Corp., 328 F.3d 1212, 1222 (10th Cir. 2003), Defendants do not
offer any argument that the expert opinions on which Plaintiffs rely should be excluded on grounds
of unreliability. See Defendants’ Supplemental Brief at 6 n.16 (stating “[e]xpert opinion must be
based on he ats [sic]”).
7
 This testimony provided the evidentiary support for paragraph 44 of Plaintiffs’ statement of
undisputed facts.
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not to whether Nurse Anderson violated Miller’s constitutional rights. In other words, Defendants

argue that Nurse Schultz may not testify because her opinion is not relevant.

       While Defendants are correct that a deliberate indifference claim must be based on more

than a violation of state law, the court finds that the standard of medical care, whether defined in

the Utah Nurse Practice Act or based upon general nursing standards, is relevant to the elements

of a deliberate indifference claim. Plaintiffs must establish that Miller had a serious medical need

that Nurse Anderson deliberately ignored. The applicable standard of care is relevant to both the

objective and subjective elements of that test. Because Nurse Schultz has signed an affidavit stating

that she would testify at trial to the opinions and facts contained in her expert report, Defendants’

objections are overruled.

           c. Exhibit 16, Todd Vinger’s Expert Report

       Defendants object to Todd Vinger’s Expert Report on grounds of hearsay and lack of

foundation. They do not explain why his report is inadmissible in the form offered, but argue that

he would not be able to testify at trial as to whether Davis County Jail should have maintained a

written medical policy because “the Utah Department of Professional Licensing required Davis

County to do away with its medical treatment protocols . . . , and because the failure to comply

with the Jail policy to implement treatment protocols will not support a section 1983 deliberate

indifference claim.” But Defendants do not explain how these arguments render Mr. Vinger’s

testimony inadmissible. To the extent Defendants are arguing that Mr. Vinger’s testimony is

irrelevant, the court overrules that objection. The court finds that Mr. Vinger’s testimony is

relevant to a municipal liability deliberate indifference claim because it goes to the obviousness of

the risk presented by a lack of written medical policies.

       Defendants also argue that “Mr. Vinger does not offer any opinion to the effect that the

failure to have treatment protocols was the proximate cause of any injury to Ms. Miller and that
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he could not give such an opinion due to his not being a physician or other qualified medical

professional.” The court fails to see how Mr. Vinger’s lack of an opinion as to causation renders

inadmissible his opinion on other matters. The court therefore overrules Defendants’ objections to

Mr. Vinger’s report and the statements of fact relying on his report, including paragraph 62.

            d. Exhibit 20, Clerk Austin Rogers’ Interview with the Attorney General

        Defendants object to the recording of the interview of Clerk Austin Rogers, a Davis County

Jail Clerk who was on duty the night of the incident, which was conducted by a representative of

the Utah Attorney General’s office. They object to the recording in the form presented because it

was not administered under oath and argue that two opinions expressed by Clerk Rogers, relied

upon by Plaintiffs at paragraphs 23 and 33 of their statement of facts, would not be admissible in

any form at trial. Defendants’ objection to the recording is overruled because Clerk Rogers may

be called as a witness at trial. If he appears at trial, the information contained in the interview can

be presented in an admissible form.

        Defendants also object to two specific opinions expressed by Clerk Rogers, which form

the basis for paragraphs 23 and 33 of Plaintiffs’ statement of undisputed facts. Defendants first

object to Clerk Rogers’ opinion that he thought Miller should have been taken to the hospital

immediately after the bunk fall. Defendants object that Rogers is not qualified to give medical

opinions and therefore his lay opinion should be excluded. This objection is overruled because the

objective prong of the deliberate indifference standard asks whether or not a serious medical need

was so obvious that a lay person would have realized the need for medical attention. Clerk Rogers’

opinion as a lay person on Miller’s state after her fall is therefore relevant.

        Next, Defendants object to Clerk Rogers’ opinion that he thought the nurses at the jail were

lazy, arguing that his opinion as to the quality of the Davis County Jail nurses generally is irrelevant

because it does not specifically address Nurse Anderson. The court sustains this objection. Clerk
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Rogers’ opinions on the general character of the nurses at the Davis County Jail, including any

opinion he may have about Nurse Anderson, are simply not relevant to whether Nurse Anderson

was deliberately indifferent to Miller’s medical needs. 8 Defendants’ objection to paragraph 23 on

grounds of hearsay, lack of foundation, and relevance are overruled, but Defendants’ objection to

paragraph 33 for lack of relevance is sustained.

            e. Exhibit 21, Nurse Daniel Layton’s Interview with the Attorney General

       Defendants object to the complete recording of the interview of Nurse Daniel Layton, a

Davis County Jail Nurse who was on duty the night of the incident, which was conducted by a

representative of the Utah Attorney General’s office. Defendants’ hearsay objections as to the

recording are overruled because Nurse Layton may be called as a witness at trial. If so, the

information contained in the recording can be presented in an admissible form. Defendants also

object to Nurse Layton describing the contents of a telephone conversation that he had with Deputy

Lloyd concerning Miller. These objections are also overruled. Nurse Layton can testify as to his

end of the conversation and Deputy Lloyd can likewise testify as to what he said to Nurse Layton.

And it appears that the statements may not necessarily be offered for the truth of the matter

asserted.

       2. Objections Based on Lack of Relevance and Probative Value

       Defendants also object to paragraphs 16, and 68–71 for lack of relevance and lack of

probative value.




8
 Alternatively, under Federal Rule of Evidence 404(a)(1), “[e]vidence of a person’s character or
character trait is not admissible to prove that on a particular occasion the person acted in
accordance with the character or trait.”

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           a. Statement of Fact ¶ 16

       Defendants object on relevance grounds to the statement that Nurse Anderson violated his

usual practice by not taking Miller’s vitals because taking her vitals may not have helped diagnose

her injury. The court overrules this objection. While the question of whether Miller would have

survived had her vitals been taken is hotly disputed, the question of whether Nurse Anderson

should have taken her vitals is clearly relevant to Plaintiffs’ deliberate indifference claim.

           b. Statements of Fact ¶¶ 68–71

       Defendants object to paragraphs 68 through 71 on the grounds that they are irrelevant and

lack probative value. Paragraphs 68 to 71 relate to the review and training policies that Nurse

Ondricek either did or did not have in place at the time of Miller’s death. Because one of Plaintiffs’

claims is deliberate indifference by Nurse Ondricek as a supervisor, which is predicated on Nurse

Ondricek’s failure to train and supervise Nurse Anderson, the court finds that these facts are both

relevant and probative. Defendants’ objections are therefore overruled.

                                          II.     ANALYSIS

       Plaintiffs move for summary judgment on their first and second causes of action brought

pursuant to 42 U.S.C. § 1983. Summary judgment is proper “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). “A fact is material if, under the governing law, it could have an effect on the

outcome of the lawsuit. A dispute over a material fact is genuine if a rational jury could find in

favor of the nonmoving party on the evidence presented.” Schneider v. City of Grand Junction

Police Dep’t, 717 F.3d 760, 767 (10th Cir. 2013) (quoting Tabor v. Hilti, Inc., 703 F.3d 1206,

1215 (10th Cir. 2013)).

       Defendants filed a cross-motion for summary judgment asserting the defense of qualified

immunity on behalf of Sheriff Richardson, Nurse Anderson, and Nurse Ondricek in their individual

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capacities and moving to dismiss all claims against Davis County and against Sheriff Richardson

in his official capacity. Because “[q]ualified immunity is designed to shield public officials from

liability,” the issue must be resolved at “the earliest possible stage in litigation.” Albright v.

Rodriguez, 51 F.3d 1531, 1534 (10th Cir. 1995) (quoting Hunter v. Bryant, 502 U.S. 224, 227

(1991)). Therefore, the court addresses the issue of qualified immunity first.

    A. QUALIFIED IMMUNITY OF THE INDIVIDUAL DEFENDANTS

        Because the individual defendants have raised the defense of qualified immunity, the court

proceeds differently than it does when considering a typical motion for summary judgment. See

Nelson v. McMullen, 207 F.3d 1202, 1205–06 (10th Cir. 2000). “When a defendant asserts

qualified immunity at summary judgment, the burden shifts to the plaintiff to show that: (1) the

defendant violated a constitutional right and (2) the constitutional right was clearly established.”

Keith v. Koerner, 843 F.3d 833, 837 (10th Cir. 2016) (quoting Thomson v. Salt Lake Cty., 584 F.3d

1304, 1312 (10th Cir. 2009)). “If, and only if, the plaintiff meets this two-part test does a defendant

then bear the traditional burden of the movant for summary judgment—showing that there are no

genuine issues of material fact and that he or she is entitled to judgment as a matter of law.” Id.

(quoting Clark v. Edmunds, 513 F.3d 1219, 1222 (10th Cir. 2008)).

        “In determining whether the plaintiff has met [his or her] burden of establishing” the

violation of a clearly established constitutional right, the court “will construe the facts in the light

most favorable to the plaintiff as the nonmoving party.” Thomson, 584 F.3d at 1312; see also

Riggins v. Goodman, 572 F.3d 1101, 1107 (10th Cir. 2009) (“The plaintiff must demonstrate on

the facts alleged both that the defendant violated his constitutional or statutory rights, and that the

right was clearly established at the time of the alleged unlawful activity.”). “A clearly established

right is one that is ‘sufficiently clear that every reasonable official would have understood that

what he is doing violates that right.’” Mullenix v. Luna, 136 S. Ct. 305, 308 (2015) (per curiam)
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(quoting Reichle v. Howards, 566 U.S. 658, 664 (2012)). 9 The clearly established prong will be

met if there is “a Supreme Court or Tenth Circuit decision on point, or the clearly established

weight of authority from other courts [has] found the law to be as the plaintiff maintains.” Brown

v. Montoya, 662 F.3d 1152, 1164 (10th Cir. 2011) (quoting Stearns v. Clarkson, 615 F.3d 1278,

1282 (10th Cir. 2010)).

        A court “may address these requirements in any order.” Mayfield v. Bethards, 826 F.3d

1252, 1255 (10th Cir. 2016). “Failure on either element . . . is fatal to the plaintiff’s cause.” Aragon




9
  Defendants argue that whether or not there was a clearly established constitutional right, they are
entitled to qualified immunity because the reasonableness of their actions may be shown by their
“good faith.” See Defs.’ Mot. S.J. at 12. But the officials’ subjective “good faith” is not relevant
to an inquiry into whether the law was clearly established such that an objectively reasonable
officer would have known his or her conduct violated the plaintiffs’ constitutional rights. See
Harlow v. Fitzgerald, 457 U.S. 800, 818–19 (1982) (Defining “the limits of qualified immunity
essentially in objective terms” and disavowing prior subjective inquiries, such as the one set forth
in Wood v. Strickland, 420 U.S. 308, 321–22 (1975)). In other words, to overcome qualified
immunity, Plaintiffs must demonstrate that prior case law has established a constitutional right and
“the contours of the right must be sufficiently clear that a reasonable official would understand
that what he [or she] is doing violates that right.” Anderson v. Creighton, 483 U.S. 635, 635 (1987);
see also Aragon v. City of Albuquerque, 423 F. App’x 790, 791 (10th Cir. 2011) (“It remains the
plaintiff’s additional burden . . . to identify clearly established law at the time of his arrest capable
of alerting a reasonable officer that the challenged conduct was unconstitutional.”). Conversely, if
there is no clearly established law that would have alerted a reasonable official that his or her
conduct was unconstitutional, then he or she likely acted reasonably and is generally entitled to
qualified immunity. See Mata v. Saiz, 427 F.3d 745, 749 (10th Cir. 2005) (“The relevant,
dispositive inquiry in determining whether a right is clearly established is whether it would be
clear to a reasonable officer that his [or her] conduct was unlawful in the situation he confronted.”
(citation omitted)); but see Hope v. Pelzer, 536 U.S. 730, 739–41 (2002) (rejecting the requirement
that “the facts of previous cases be materially similar” to those in the present case to overcome
immunity and instead requiring that officers have “fair warning” of the constitutional line); Casey
v. City of Federal Heights, 509 F.3d 1278, 1285 (10th Cir. 2007) (citing Hope to deny qualified
immunity and stating that “we need not have decided a case involving similar facts to say that no
reasonable officer could believe that he was entitled to behave as [defendant] allegedly did.”). In
sum, any evidence or testimony related to the Defendants acting in good faith is only relevant to
the subjective element of the deliberative indifference analysis for the alleged constitutional
violation. See Mitchell v. Maynard, 80 F.3d 1433, 1444 (10th Cir. 1996).

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v. City of Albuquerque, 423 F. App’x 790, 792 (10th Cir. 2011). The court will now address each

element as to each cause of action.

        1. First Cause of Action: Deliberate Indifference to Medical Needs in Violation of
           the Eighth Amendment 10

        In their first cause of action against Nurse Anderson, Plaintiffs allege that Nurse

Anderson’s deliberate indifference to Miller’s medical needs resulted in her death. Specifically,

Plaintiffs allege that Nurse Anderson’s failure to take Miller’s vitals immediately after her fall and

his subsequent failure to monitor her vitals over the course of the next three hours resulted in the

failure to diagnose Miller’s internal bleeding in time to prevent her death. Plaintiffs allege that

these actions by Nurse Anderson constitute deliberate indifference to Miller’s medical needs in

violation of the Eighth Amendment. 11

            a. Clearly Established Right

        Plaintiffs’ first cause of action alleges a violation of a clearly established right.

“[D]eliberate indifference to serious medical needs of prisoners constitutes the ‘unnecessary and

wanton infliction of pain,’ proscribed by the Eighth Amendment.” Callahan v. Poppell, 471 F.3d



10
   Plaintiffs title the first cause of action of their complaint “Deliberate Indifference to Ms. Miller’s
8th and/or 14th Amendment Rights – Failure to Provide Proper Medical Care.” The court
recognizes that Ms. Miller was a pretrial detainee at the time of the incident and pretrial detainees
are protected under the Due Process Clause rather than the Eighth Amendment. See Bell v. Wolfish,
441 U.S. 520, 535 n.16 (1979). But in the Tenth Circuit, jail officials “owe pretrial detainees . . .
at least the same standard of care prison officials owe convicted inmates.” Blackmon v. Sutton, 734
F.3d 1237, 1244 (10th Cir. 2013). Therefore, the court relies on Eighth Amendment authority and
“applies an analysis identical to that applied in Eighth Amendment cases brought pursuant to
Section 1983.” Lopez v. LeMaster, 172 F.3d 756, 759 n.2 (10th Cir. 1999).
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  Plaintiffs do not specify against which Defendants they assert their first cause of action, but they
have only alleged deliberate actions by Nurse Anderson. Because “liability under § 1983 must be
based on [a] defendant’s personal involvement in the alleged constitutional violation,” the court
addresses this claim only as to Nurse Anderson. Mayfield v. Harvey Cty. Sheriff’s Dep’t, 732 F.
App’x 685, 688 (10th Cir. 2018) (alteration in original) (quoting Schneider, 717 F.3d at 768).

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1155, 1159 (10th Cir. 2006) (quoting Estelle v. Gamble, 429 U.S. 97, 104 (1976)). Thus, “[a]

plaintiff states a cognizable Eighth Amendment claim for denial of medical attention if he [or she]

‘allege[s] acts or omissions sufficiently harmful to evidence deliberate indifference to serious

medical needs.’” Olsen v. Layton Hills Mall, 312 F.3d 1304, 1315 (10th Cir. 2002) (quoting

Estelle, 429 U.S. at 106). 12 “This is true whether the indifference is manifested by prison doctors

in their response to the prisoner’s needs or by prison guards in intentionally denying or delaying

access to medical care or intentionally interfering with the treatment once prescribed.” Estelle, 429

U.S. at 104–05. In the Tenth Circuit, “there is little doubt that deliberate indifference to an inmate’s

serious medical need is a clearly established constitutional right.” Mata v. Saiz, 427 F.3d 745, 749

(10th Cir. 2005). And it is clearly established that deliberate indifference to serious medical needs

may be “shown when prison officials have prevented an inmate from receiving recommended

treatment or when an inmate is denied access to medical personnel capable of evaluating the need

for treatment.” Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir. 1980). Thus, Plaintiffs have met their

burden of alleging a clearly established constitutional right.

            b. Constitutional Violation

        To successfully state a claim for deliberate indifference to Miller’s serious medical needs

in violation of the Eighth Amendment, Plaintiffs must establish two components: (1) “an objective

component requiring that the pain or deprivation be sufficiently serious;” and (2) “a subjective

component requiring that the offending officials act with a sufficiently culpable state of mind.”

Mitchell v. Maynard, 80 F.3d 1433, 1444 (10th Cir. 1996) (quoting Miller v. Glanz, 948 F.2d 1562,


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   Defendants argue that “there is no case law requiring Defendants to provide Ms. Miller with
certain medical treatment or setting the level of treatment above the standard of care.” See Defs.’
Mot. S.J. at 11. But that argument is not properly directed to the existence of Ms. Miller’s clearly
established right to not have her serious medical needs treated with deliberate indifference. See
Mata, 427 F.3d at 749. Rather, it goes to the issue of whether Defendants’ conduct related to Ms.
Miller’s condition was a violation of her clearly established right to medical treatment.
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1569 (10th Cir. 1991)); see also Mata, 427 F.3d at 751 (“The test for constitutional liability of

prison officials ‘involves both an objective and a subjective component.’”) (quoting Sealock v.

Colorado, 218 F.3d 1205, 1209 (10th Cir. 2000)).

                    i. Objective Component

        To satisfy the objective component, Plaintiffs “must set forth facts demonstrating that [the]

alleged medical need . . . ‘was “sufficiently serious” to meet the objective element of the deliberate

indifference test.’” Oxendine v. Kaplan, 241 F.3d 1272, 1276–77 (10th Cir. 2001) (quoting

Sealock, 218 F.3d at 1210). In a case such as this where Plaintiffs allege that Defendants delayed

in providing medical treatment, Plaintiffs must also demonstrate “that the Defendants’ delay in

meeting that need caused . . . ‘substantial harm.’” Id. Plaintiffs allege that Miller had a serious

medical need to have her vitals taken and monitored by Nurse Anderson following her fall because

that was the only way to diagnose her internal injury. Plaintiffs argue that had Miller’s vitals been

taken and monitored, Nurse Anderson would have observed a drop in her blood pressure and other

symptoms that would have allowed Nurse Anderson to diagnose internal bleeding and transport

Miller to the hospital in time to save her life.

                                Serious Medical Need

        The first question is whether the need to monitor Miller and take her vitals was sufficiently

serious. “A medical need is sufficiently serious ‘if it is one that has been diagnosed by a physician

as mandating treatment or one that is so obvious that even a lay person would easily recognize the

necessity for a doctor’s attention.’” Sealock, 218 F.3d at 1209 (quoting Hunt v. Uphoff, 199 F.3d

1220, 1224 (10th Cir. 1999)). Had Nurse Anderson known that Miller ruptured her spleen, Miller’s

medical need would have been obvious. However, a ruptured spleen and/or internal bleeding

would not be obvious to a lay person. Thus, the question cannot be whether Miller’s final diagnosis

was sufficiently serious, but whether her condition at the time of the incident necessitated that

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Nurse Anderson monitor her vitals. See Mata, 427 F.3d at 753 (discussing “whether the test for

the objective component applies to (1) the alleged harm to the prisoner or (2) the prisoner’s

symptoms at the time of the prison employee’s actions,” and deciding that it may be applied to an

“intermediate harm rather than the last untoward event to befall [the plaintiff].”). If the answer is

in the negative, and “the necessity for treatment would not be obvious to a lay person, the medical

judgment of the physician, even if grossly negligent, is not subject to second-guessing in the guise

of an Eighth Amendment claim.” Id. at 751.

        Nurse Anderson, Nurse Ondricek, and Defendants’ Medical Expert, Dr. Tubbs, all agree

that the attending nurse should take an inmate’s vitals following a suspected injury. Specifically,

Nurse Ondricek testified that when the medical unit responds to an incident where an inmate may

have been injured, the nurse may either send the patient to the hospital if there is an obvious critical

injury or, if there is no obvious injury, the nurse should monitor the patient’s vitals to see if there

is any observable change in condition over the next few hours. See Pls.’ Mot. S.J., Ex. 4 at 30. In

the latter case, Nurse Ondricek testified that the patient should be transferred to medical to be

monitored. According to Nurse Ondricek, only if there is no suspected injury may the failure to

check vitals or monitor the patient be excused.

        Defendants argue that there was no suspected injury, and therefore Nurse Anderson did not

need to take Miller’s vitals or place Miller under medical supervision. In support, they argue that

Nurse Anderson was justified in assuming Miller was only experiencing methamphetamine

withdrawal because her symptoms were similar to withdrawal symptoms and because she did not

have an obvious external injury. The record shows that initially Miller was able to dress herself

and stand on her own. The record also supports that Nurse Anderson would not have been able to




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diagnose Miller’s internal injury from his initial assessment and that there may not have been any

external evidence of the seriousness of her injury.

       However, there are disputes of material fact regarding whether Miller should have been

monitored. First, the record does not support Defendants’ argument that Miller was evidencing

symptoms of methamphetamine withdrawal because there is no record evidence identifying the

symptoms of methamphetamine withdrawal. Second, there is a genuine dispute of material fact

regarding Defendants’ assertion that Miller was not entitled to have her vitals taken or monitored.

Miller’s vitals should have been taken if there was evidence of a serious injury and there is record

evidence establishing that Miller suffered a serious injury. Miller’s cellmate told Nurse Anderson

that Miller fell with great force and hit her head on the concrete floor. Miller could not walk

unassisted and was unresponsive to questioning. Non-medical observers such as Davis County

officers and Clerk Rogers all testified that Miller was obviously in need of medical attention.

Defendants’ own expert, Dr. Tubbs, states conclusively that Anderson’s initial evaluation should

have included a vital sign check. Additionally, even if Nurse Anderson initially believed that

Miller had not suffered any serious injury, the fact that Miller could not walk indicated she should

have been placed under observation. Nurse Ondricek testified that a patient who cannot walk or

who needs assistance walking should be transferred to medical, even if the inability to walk is

attributable to withdrawal symptoms. Thus, whether there was evidence of symptoms necessitating

medical attention is in dispute.

       When assessing the defense of qualified immunity on a motion for summary judgment, the

court views the facts in the light most favorable to Plaintiffs. Under this standard, the court must

assume that Miller had a serious medical need to have her vitals taken and monitored by Nurse

Anderson. The court now turns to whether his failure to do so caused Miller substantial harm.



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                               Substantial Harm

       “The substantial harm requirement ‘may be satisfied by lifelong handicap, permanent loss,

or considerable pain.’” Mata, 427 F.3d at 751 (quoting Garrett v. Stratman, 254 F.3d 946, 950

(10th Cir. 2001)). Death certainly qualifies as a substantial harm, but did the failure to monitor

Miller’s vitals cause her death? In other words, would monitoring Miller’s vitals have prevented

her death? Plaintiffs argue yes. Plaintiffs’ expert, Dr. Starr, opines that Miller experienced

“hemodynamically significant deterioration” from her ruptured spleen. He maintains that there

would have been evidence of Miller’s deterioration within one hour after her fall. According to

Starr, 15% blood loss results in a high pulse rate, anxiety, and a narrow pulse pressure. At 30–40%

blood loss, patients show an elevated heart rate, low blood pressure, a narrow pulse pressure,

elevated respiratory rate, and increased anxiety or confusion. See Pls.’ Mot. S.J., Ex. 10. Finally,

Dr. Starr opined that, “[h]ad Ms. Miller’s blunt abdominal injuries been recognized earlier, it is

my professional opinion that this condition would have been surgically treated and she would have

a very high likelihood of survival with no resultant sequelae.” Id. at 2. Defendants’ expert,

Dr. Tubbs, vehemently disputes this. He opines that “Miller’s diagnosis likely would not have been

apparent to Anderson based on findings of vital signs.” Id., Ex. 12 at 4. According to Dr. Tubbs,

because Miller’s blood pressure would have been elevated due to the fall, “it is unlikely that Miller

would have been found hypotensive and tachycardic at the time of injury.” Id. In short, there is a

dispute of material fact as to whether Miller’s internal bleeding could have been diagnosed in time

to allow for a successful surgical intervention. However, Defendants do not contest that Miller

could have lived had the internal bleeding been diagnosed in time. Viewing these facts in the light

most favorable to Plaintiffs, the court concludes that Miller’s death could have been prevented had

Nurse Anderson taken her vital signs. Plaintiffs have therefore met the objective element of the

two-part deliberate indifference test.
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                    ii. Subjective Component

        Next, Plaintiffs must establish the subjective component of deliberate indifference.

“Deliberate indifference does not require a finding of express intent to harm.” Mitchell, 80 F.3d at

1442. Rather, “deliberate indifference requires that the prison official knew of and disregarded ‘an

excessive risk to inmate health or safety.’” Id. (quoting Farmer v. Brennan, 511 U.S. 825, 836

(1994)). 13 “[A]llegations of ‘inadvertent failure to provide adequate medical care’ or of a

‘negligent . . . diagnos[is]’ simply fail to establish the requisite culpable state of mind.” Id. at 1444

(alteration in original) (quoting Wilson v. Seiter, 501 U.S. 294, 297 (1991)). “[A] mere difference

of opinion between the prison’s medical staff and the inmate as to the diagnosis or treatment which

the inmate receives does not support a claim of cruel and unusual punishment.” Ramos, 639 F.2d

at 575. Plaintiffs allege that Nurse Anderson was aware of the substantial risks associated with

falls at the jail and chose to ignore them on account of his biased assumption that Miller was

suffering methamphetamine withdrawal. Plaintiffs also allege that Nurse Anderson ignored

Miller’s need for medical monitoring because of this same bias.

        “Whether the prison official had the requisite knowledge of a substantial risk to an inmate’s

health or safety ‘is a question of fact subject to demonstration in the usual ways, including

inference from circumstantial evidence . . . .’” Oxendine, 241 F.3d at 1276 (quoting Farmer, 511

U.S. at 842). “[A] factfinder may conclude that a prison official knew of a substantial risk from

the very fact that the risk was obvious.” Id. The court can infer deliberate indifference if “the

symptoms [were] such that a prison employee knew the risk to the prisoner and chose (recklessly)

to disregard it[.]” Mata, 427 F.3d at 753. In this case, the question of whether Nurse Anderson was



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   “It is, indeed, fair to say that acting or failing to act with deliberate indifference to a substantial
risk of serious harm to a prisoner is the equivalent of recklessly disregarding that risk.” Farmer,
511 U.S. at 836.
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aware of the risk that Miller was seriously injured and needed to be monitored, but chose to ignore

it, is hotly disputed.

        There is no evidence that Nurse Anderson should have been aware that Miller may have

ruptured her spleen from the fall. Nor is there evidence that Anderson could have diagnosed

Miller’s ruptured spleen from his initial physical examination of her. But there is evidence that

Nurse Anderson should have realized the significant risk that Miller had been seriously injured by

falling from an upper bunk onto a concrete floor. And Nurse Anderson was aware of Miller’s

symptoms. At the outset Miller was complaining of pain everywhere. Miller’s cellmate told Nurse

Anderson that Miller hit her head on the floor. Miller said she was dizzy and felt nauseous. Miller

could not walk twenty feet unassisted. Nevertheless, Nurse Anderson decided to leave her to sleep

off her suspected withdrawal and did not return to check on her. He did not perform a basic blood

pressure exam nor did he return to see if her pain had subsided. Miller was unconscious and

unmoving for three hours on the floor of her Lima cell before she was taken to the medical unit.

        Nurse Anderson’s testimony makes it clear that he did not believe Miller was seriously

injured because he assumed that she was going through withdrawal. Defendants argue that this

testimony precludes a finding that Nurse Anderson was deliberately indifferent to Miller’s care.

The court disagrees. First, Miller’s symptoms indicated that something was seriously wrong. Nurse

Anderson’s assumption that she was only withdrawing entirely ignored the fact that Miller could

have been experiencing withdrawal and was seriously injured by her fall. In fact, Miller’s

symptoms were such that a reasonable juror could find that Nurse Anderson should have known

Miller was injured, not just suffering withdrawal, that he should have monitored her more closely,

and that his failure to do so constitutes deliberate indifference. Second, even if Miller were only

suffering from withdrawal, she still should have been monitored. At the very least, a reasonable



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juror could find that Nurse Anderson was deliberately indifferent by not monitoring her, if not in

medical than at least in her cell, as nurses are required to do for patients withdrawing from

methamphetamine. Resolving all factual disputes in favor of Plaintiffs, the court concludes that

Nurse Anderson disregarded the substantial risk that Miller was seriously injured in the fall and in

need of medical attention. Plaintiffs have therefore established that Nurse Anderson is not entitled

to qualified immunity on their first cause of action.

          2. Second Cause of Action: Failure to Train and/or Supervise in Violation of the
             Eighth Amendment

          Plaintiffs’ second cause of action alleges that Nurse Ondricek and Sheriff Richardson in

their individual capacities as supervisors at Davis County Jail were deliberately indifferent to the

medical needs of Miller. Plaintiffs also assert this claim against Davis County. 14 Defendants move

to dismiss this claim as to all Defendants on grounds of qualified immunity. The court therefore

analyzes whether Plaintiffs have alleged a constitutional violation of clearly established law by

each individual defendant or whether Defendants are entitled to qualified immunity.

              a. Clearly Established Law

          “Section 1983 does not authorize liability under a theory of respondeat superior.”

Schneider, 717 F.3d at 767 (quoting Brown, 662 F.3d at 1164). However, it is clearly established

in the Tenth Circuit that a government official’s failure to train and/or supervise can constitute a

violation of an inmate’s constitutional rights if the supervisor, by his or her “own individual

actions, has violated the Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009). This is called

a “supervisory liability” claim. Schneider, 717 F.3d at 767. Such a claim requires “more than a

supervisor’s mere knowledge of his subordinate’s conduct.” Id. (citing Iqbal, 556 U.S. at 677).

Rather, to successfully assert a claim for supervisory liability, Plaintiffs “must show an


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     Plaintiffs have stipulated to the dismissal of Sheriff Richardson in his official capacity.
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‘affirmative link’ between the supervisor and the constitutional violation” by establishing three

elements: “(1) personal involvement, (2) causation, and (3) state of mind.” Id. (quoting Dodds v.

Richardson, 614 F.3d 1185, 1195 (10th Cir. 2010)).

       Personal involvement cannot be based on vicarious liability, but must be shown “with

evidence that ‘the defendant promulgated, created, implemented or possessed responsibility for

the continued operation of a policy’ that caused the constitutional harm.” Keith v. Koerner, 707

F.3d 1185, 1188 (10th Cir. 2013) (quoting Dodds, 614 F.3d at 1195, 1199.) Plaintiffs must

“establish the ‘requisite causal connection’ by showing ‘the defendant set in motion a series of

events that the defendant knew or reasonably should have known would cause others to deprive

the plaintiff of her constitutional rights.’” Schneider, 717 F.3d at 768 (quoting Dodds, 614 F.3d at

1185). Finally, Plaintiffs must “show that the defendant took the alleged actions with the requisite

state of mind. Precisely what state of mind is required for individual liability depends on the type

of claim a plaintiff brings.” Id. at 769. As the underlying constitutional violation alleged by

plaintiffs is deliberate indifference in violation of the Eighth Amendment, Plaintiffs must show

that Defendants acted with the same mental state as Nurse Anderson, in this case deliberate

indifference. See Dodds, 614 F.3d at 1204 (holding that the state of mind required for a supervisory

claim “is the same state of mind required for the constitutional deprivation” alleged).

       Plaintiffs allege that Nurse Ondricek should be liable in his role as a supervisor for his

failure to properly supervise and/or train Nurse Anderson. Plaintiffs allege that Sheriff Richardson

should be liable for his failure to establish written medical protocols for the Davis County Jail. To

defeat qualified immunity, Plaintiffs must establish that there are disputed material facts as to

Sheriff Richardson and Nurse Ondricek on each element of their supervisory liability theories.




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            b. Constitutional Violation

                    i. Sheriff Richardson

        Plaintiffs argue that Sheriff Richardson’s decision to operate the jail without a written

medical policy constitutes deliberate indifference in violation of the Eighth Amendment because

it caused Nurse Anderson to treat Miller with deliberate indifference.

                                Personal Involvement

        The first question is whether Sheriff Richardson is responsible for the jail’s medical policy.

Defendants argue that Sheriff Richardson was not responsible for establishing the jail’s medical

policy. They rely on the testimony of Dr. Tubbs, who testified that the prison doctor, not the

Sheriff, is in charge of medical policy at the jail. Defendants also rely on Davis County Policy

405.10, which states that “Davis County Jail treatment protocols and first aid procedures will be

developed by the jail physician, psychiatrist and/or dentist.”

        However, in his deposition, Sheriff Richardson testified that he was in charge of ordering

and approving all written protocols for the jail, including the nursing policy. He testified it was his

job to order the jail physician to write the policy. He also testified that there were policies in place

six years before Miller’s death, but that he had removed them at the request of the state health

department. Viewing the facts in the light most favorable to Plaintiffs, the court assumes that

Sheriff Richardson was personally involved in the decision to run the jail without any written

treatment protocols.

                                Causation

        The next question is whether the lack of a written medical policy caused Nurse Anderson

to be deliberately indifferent to Miller’s medical needs. The relevant causation inquiry is “whether

an official’s acts or omissions were the cause—not merely a contributing factor—of the

constitutionally infirm condition” that led to Plaintiffs’ harm. Tafoya v. Salazar, 516 F.3d 912, 922

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(10th Cir. 2008) (quoting LaMarca v. Turner, 995 F.2d 1526, 1538 (11th Cir. 1993)). To meet this

burden, Plaintiffs must establish “a causal link between the defendant’s acts or omissions and the

infirm condition,” in which case “the defendant is precluded from contending that the

unconstitutional condition was not at least a proximate cause of . . . injuries that arose from that

condition.” Id. (alteration in original).

        Defendants contend that the lack of written policy has no causal connection to Miller’s

death because the unwritten policy at the time of her injury was to check vitals and monitor

prisoners in need of medical attention. Nurse Anderson ignored the unwritten policy, and

Defendants argue that a written one would not have changed Nurse Anderson’s actions. Plaintiffs

do not dispute that there was an unofficial policy in place to take an inmate’s vitals following a

suspected injury and to thereafter monitor her in the medical unit. However, Plaintiffs argue that

had there been an official, written policy in place, Nurse Anderson would not have ignored it. For

example, had he been required to follow a written, post-fall checklist, then he would have taken

Miller’s vitals.

        This inquiry requires the court to predict how a hypothetical policy would have affected

Nurse Anderson’s actions. But the court need not undertake this exercise because, as discussed

below, the court finds that Plaintiffs have not established that Sheriff Richardson acted with the

requisite mindset.

                                   Deliberate Indifference

        In Tafoya v. Salazar, 516 F.3d 912 (10th Cir. 2008), the Tenth Circuit addressed the

requirements for determining whether a supervisor acted with deliberate indifference:

                   The standard is subjective, requiring that the official actually be
                   aware of facts from which the inference could be drawn that a
                   substantial risk of serious harm exists, and he must also draw the
                   inference. An official’s failure to alleviate a significant risk of which
                   he was unaware, no matter how obvious the risk or how gross his
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               negligence in failing to perceive it, is not an infliction of punishment
               and therefore not a constitutional violation. The official’s
               knowledge of the risk need not be knowledge of a substantial risk to
               a particular inmate, or knowledge of the particular manner in which
               injury might occur.

Id. at 916 (internal quotation and citation marks omitted).

       Here, Sheriff Richardson was aware that there was no written medical policy in place and

that there had not been one in place for six years. He was also aware that the jail’s internal policy,

Davis County Jail Policy 401.03, requires a written medical policy. (“Policies and procedures

governing health care, health services, administration and management of the Davis County Jail

health care program will be developed and written.”). However, to make out a deliberate

indifference claim against Sheriff Richardson, Plaintiffs must establish that there was a substantial

risk to inmates that he deliberately ignored and one that is closely related to the harm that befell

Miller. See Tafoya, 516 F.3d at 916.

       In their complaint, Plaintiffs allege that Sheriff Richardson was deliberately indifferent to

the substantial risk of inmates falling off of bunks and suffering significant injuries. There is

evidence that inmates fell from a top bunk about once a month. But there is no evidence that

inmates suffered significant injuries from these falls. Even if inmates were suffering serious

injuries from these falls, Plaintiffs cannot establish that Sheriff Richardson was indifferent to the

risk of bunk falls. The jail had a policy in place to limit bunk falls. When an inmate was booked

into the jail, he or she was required to fill out an admission form that includes a question regarding

whether he or she will likely experience withdrawal. This was used to determine whether the

inmate should be assigned to the top or bottom bunk. Miller did not indicate that she would suffer

withdrawal and she was therefore not assigned a bottom bunk.

       In Plaintiffs’ reply in support of their motion for summary judgment, Plaintiffs argue that

Defendants were aware that operating a jail without medical protocols was substantially certain to
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result in injury because the Davis County Jail policies require that written protocols be in place

and that it was highly predictable that injury would occur without them. In support, Plaintiffs cite

to Olsen v. Layton Hills Mall, 312 F.3d 1304, 1318 (10th Cir. 2002), where the Tenth Circuit noted

that a municipality may be found deliberately indifferent “absent a pattern of unconstitutional

behavior if a violation of federal rights is a ‘highly predictable’ or ‘plainly obvious’ consequence

of a municipality’s action.” (internal citation omitted). But Plaintiffs’ argument fails as to Sheriff

Richardson in his individual capacity because, as the Supreme Court held in Farmer v. Brennan,

511 U.S. 825, 840–41 (1994), the “constructive notice” or “objective” test applicable to

municipalities does not apply to individual defendants. 15 “An official’s failure to alleviate a

significant risk of which he was unaware, no matter how obvious the risk or how gross his

negligence in failing to perceive it, is not an infliction of punishment and therefore not a

constitutional violation.” Tafoya, 516 F.3d at 916.

       In Tafoya, the Tenth Circuit reversed the district court’s grant of summary judgment on

qualified immunity grounds because the Sheriff of a jail was “aware of prison conditions that were

substantially likely to result in sexual assault of a female inmate” based on a history of sexual

assaults at the prison. Id. at 915. But in this case, Plaintiffs have failed to establish a pattern of

conduct at the jail that would have made Sheriff Richardson aware of substantial risk to prisoners

arising from the lack of a medical protocol. Sheriff Richardson is therefore entitled to qualified

immunity.




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   “We cannot accept petitioner’s argument that [City of Canton v. Harris, 489 U.S. 378 (1989)]
compels the conclusion here that a prison official who was unaware of a substantial risk of harm
to an inmate may nevertheless be held liable under the Eighth Amendment if the risk was obvious
and a reasonable prison official would have noticed it.” Farmer, 511 U.S. at 841–42.


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                   ii. Nurse Ondricek

       Plaintiffs argue that because Nurse Anderson violated Miller’s rights and Nurse Ondricek

supervised Nurse Anderson, Nurse Ondricek’s alleged failure to establish nursing protocols, train

Nurse Anderson, and investigate inmate deaths constitutes deliberate indifference. The court

disagrees.

                               Personal Involvement

       It is uncontested that Nurse Ondricek, as supervising nurse, was personally involved in

establishing nursing protocols, training the nurses (including Nurse Anderson), and conducting

post-incident reviews. 16 Thus, Nurse Ondricek was personally involved.

                               Causation

       Plaintiffs allege that Nurse Ondricek’s failure to train Nurse Anderson was the cause of his

deliberate indifference to Miller’s medical needs. This claim calls for the fact-finder to predict

whether Nurse Anderson would have behaved differently had he been better trained. But the court

need not reach this issue because Plaintiffs have failed to meet their burden as to Nurse Ondricek’s

state of mind.

                               Deliberate Indifference

       To prove that Nurse Ondricek’s failure to train and implement protocols constituted

deliberate indifference, Plaintiffs must establish that Nurse Ondricek acted with the requisite

mindset. Plaintiffs must establish that Nurse Ondricek deliberately ignored a substantial risk to

inmates, Tafoya, 516 F.3d at 916, or “knowingly created a substantial risk of constitutional injury.”

Schneider, 717 F.3d at 769 (quoting Dodds, 614 F.3d at 1206). Plaintiffs’ claims against Nurse



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  Defendants “dispute” these statements of fact by objecting for lack of relevance and lack of
probative value. The court overrules those objections. Whether Nurse Ondricek had supervisory
authority is both relevant and probative. See supra at p. 12.
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Ondricek fail for the same reason as their claims against Sheriff Richardson. There is no evidence

that Nurse Ondricek was aware that his failure to train and implement protocols created a

substantial risk of harm to inmates. There was no history of inmates dying as a result of the lack

of protocols, nor was there a history of inmates dying from bunk falls. Nor have Plaintiffs

established that there was any history of medical failures at the jail. Thus, the constitutional harm

that Nurse Anderson may have committed—deliberate indifference to Miller’s medical needs—

was not one of which Nurse Ondricek was aware. Nurse Ondricek is therefore entitled to qualified

immunity.

            c. Official Capacity Defendant: Davis County17

       Plaintiffs have also named Davis County in their second cause of action. Defendants move

the court to dismiss this cause of action in its entirety, arguing that all defendants are entitled to

qualified immunity. See Defs.’ Mot. S.J. at 10 (“Similarly, Davis County and Sheriff Richardson

are entitled to qualified immunity because Plaintiffs have failed to demonstrate that the County’s

policies, or lack thereof, directly caused Miller’s death.”). But Davis County is not entitled to

qualified immunity because a qualified immunity defense is available only to individuals sued in

their personal capacities. See Kentucky v. Graham, 473 U.S. 159, 166–67 (1985) (“When it comes

to defenses to liability, an official in a personal-capacity action may, depending on his position, be

able to assert personal immunity defenses . . . . In an official-capacity action, these defenses are

unavailable.”). The court therefore denies Defendants’ motion for summary judgment in favor of

Davis County on Plaintiffs’ second cause of action.



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   Plaintiffs’ second cause of action was originally asserted against Sheriff Richardson in his
official capacity as well, but Plaintiffs have stipulated to dismiss Sheriff Richardson because, for
the purposes of their § 1983 claim, Davis County and Sheriff Richardson in his official capacity
are interchangeable. See Kentucky v. Graham, 473 U.S. 159, 165–66 (1985).


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   B. CROSS-MOTIONS FOR SUMMARY JUDGMENT

       The court now addresses Plaintiffs’ Motion for Summary Judgment. Plaintiffs move for

summary judgment against Nurse Anderson on their first cause of action. Because Nurse Anderson

is not entitled to qualified immunity, the court now addresses Plaintiffs’ claims against him.

Plaintiffs also move for summary judgment against Nurse Ondricek and Sheriff Richardson in

their individual capacities and against Davis County on their second cause of action. Defendants

ask the court to deny Plaintiffs’ motion for summary judgment, dismiss all claims against Davis

County, and dismiss Plaintiffs’ state law claims. Nurse Ondricek and Sheriff Richardson are

entitled to qualified immunity on the second cause of action, but Davis County is not. Thus, the

court will address that claim only as it relates to Davis County.

       Summary judgment is proper “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

“A fact is material if, under the governing law, it could have an effect on the outcome of the

lawsuit. A dispute over a material fact is genuine if a rational jury could find in favor of the

nonmoving party on the evidence presented.” Schneider, 717 F.3d at 767 (quoting Tabor, 703 F.3d

at 1215). “At the summary judgment stage, the judge’s function is not to weigh the evidence and

determine the truth of the matter.” Concrete Works of Colo., Inc. v. City & Cty. of Denver, 36 F.3d

1513, 1518 (10th Cir. 1994). “Nonetheless, ‘[w]here the record taken as a whole could not lead a

rational trier of fact to find for the nonmoving party,’ summary judgment in favor of the moving

party is proper.” Id. (alteration in original) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986)).




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          1. First Cause of Action: Deliberate Indifference to Medical Needs in Violation of
             the 8th Amendment

          Plaintiffs move for summary judgment against Nurse Anderson, alleging that his failure to

take Miller’s vitals immediately after her fall and his subsequent failure to monitor her vitals over

the course of the next three hours resulted in the failure to diagnose her internal bleeding in time

to prevent her death. Plaintiffs allege that these actions by Nurse Anderson constitute deliberate

indifference to Miller’s medical needs in violation of the Eighth Amendment. To successfully state

a claim for deliberate indifference in violation of the Eighth Amendment, Plaintiffs must establish

two components: “an objective component requiring that the pain or deprivation be sufficiently

serious; and a subjective component requiring that the offending officials act with a sufficiently

culpable state of mind.” Mitchell, 80 F.3d at 1444 (quoting Miller, 948 F.2d at 1569).

          As discussed previously, there are disputed material facts related to both the objective and

subjective elements of Plaintiffs’ claim for deliberate indifference against Nurse Anderson. Thus,

the court cannot grant summary judgment in favor of Plaintiffs. “Where disputed material facts

implicate either of the two questions of whether a serious medical need existed or whether an

officer was deliberately indifferent to it, a court may not grant summary judgment.” Olsen, 312

F.3d at 1315–16 (quoting Lopez v. LeMaster, 172 F.3d 756, 764 (10th Cir. 1999)); see also

DeSpain v. Uphoff, 264 F.3d 965, 972 (10th Cir. 1999) (reversing summary judgment where

“[n]early every material fact related to” whether the impact of a prison flooding incident

constituted a “sufficiently serious” medical need such that it would warrant attention and whether

prison officials were deliberately indifferent to it “was hotly contested”). Plaintiffs’ motion is

therefore denied as to the first cause of action. 18




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     Defendants only moved for summary judgment on the issue of qualified immunity on this claim.
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       2. Second Cause of Action: Failure to Train and/or Supervise in Violation of the 8th
          Amendment

       The parties have filed cross-motions for summary judgment on Plaintiffs’ second cause of

action. Plaintiffs assert that the undisputed material facts establish that Davis County Jail’s lack of

a written medical policy violated Miller’s Eighth Amendment rights because it ignored a

substantial risk of harm to inmates. As has been previously addressed, Defendants moved for

summary judgment on grounds of qualified immunity on behalf of all individual defendants and

Davis County. They also moved to dismiss the claims against Davis County and Sheriff

Richardson in his official capacity, alleging that there is no underlying constitutional violation by

any of the individual defendants. Defendants also seek a ruling that Plaintiffs’ are not entitled to

punitive damages against Davis County. In response, Plaintiffs stipulated to the dismissal of their

claim against Sheriff Richardson in his official capacity and to the dismissal of their claim for

punitive damages against Davis County.

           a. Underlying Constitutional Violation

       Defendants are correct that a municipality may not be held “liable [for constitutional

violations] when there was no underlying constitutional violation by any of its officers.” Olsen,

312 F.3d at 1317–18 (alteration in original) (quoting Hinton v. City of Elwood, 997 F.2d 774, 782

(10th Cir. 1993)). However, because there are disputes of material fact as to whether or not Nurse

Anderson, a county official, violated the Eighth Amendment, Davis County may not be dismissed

solely on these grounds. Defendants are therefore denied summary judgment on this issue.

           b. Davis County’s Liability

       The court next turns to the issue of whether Plaintiffs are entitled to summary judgment

against Davis County for its decision to operate the jail without medical protocols. Even if Nurse

Anderson is found to have violated the Eighth Amendment, Davis County cannot be held liable


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under Section 1983 solely because Nurse Anderson was the county’s employee. See Monell v.

Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 691 (1978) (“[A] municipality cannot be

held liable solely because it employs a tortfeasor . . . .” (emphasis in original)). Rather, Plaintiff

must (1) identify “a government’s policy or custom”; (2) “that caused the [constitutional] injury”;

and (3) “show that the policy was enacted or maintained with deliberate indifference to an almost

inevitable constitutional injury.” Schneider, 717 F.3d at 769 (internal quotation marks and citations

omitted). In other words, Plaintiff must establish: “(1) [an] official policy or custom, (2) causation,

and (3) state of mind.” Id.

                    i. Official Policy

        Plaintiff challenges Davis County’s official policy of operating without written medical

protocols. Plaintiffs have established that not having written protocols is the official policy of

Davis County because Sheriff Richardson decided to remove the medical protocols at issue. This

lack of medical protocols therefore constitutes the “final decision by a municipal policymaker.”

Id. at 770. 19

                   ii. Causation

        Plaintiffs argue that the lack of medical protocols caused Nurse Anderson to act with

deliberate indifference to Miller’s medical needs. But Defendants have identified material

evidence disputing causation. As discussed above, Defendants contend that the lack of written

protocols has no causal connection to the harm Miller suffered because the unwritten policy at the

time of Miller’s injury was to check vitals and monitor prisoners in need of medical attention.



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   Defendants dispute that Sheriff Richardson is the policymaker who made this decision.
However, Sheriff Richardson testified unequivocally that he is the policymaker for the jail and that
he made the decision that the jail would operate without any written medical protocols. See supra
at p. 25.


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Nurse Anderson and Nurse Ondricek both testified that taking vitals was the unwritten policy.

Plaintiffs respond that had the medical policy been written, Nurse Anderson would not have

ignored it. To resolve this dispute, the fact-finder would have to decide how a “hypothetically well-

trained officer would have acted under the circumstances.” City of Canton v. Harris, 489 U.S. 378,

391 (1989). But the court cannot decide that question at this stage. Rather, this question of

causation is best left to the jury. 20 Plaintiffs are therefore not entitled to summary judgment on

their second cause of action against Davis County.

                    iii. State of Mind

          Alternatively, the court finds that Plaintiffs should be denied summary judgment because

there are disputed issues of material fact as to Davis County’s state of mind. To establish the final

element of a municipal liability deliberate indifference claim, Plaintiffs must prove that Davis

County “ha[d] actual or constructive notice that its action or failure to act [was] substantially

certain to result in a constitutional violation, and it consciously or deliberately [chose] to disregard

the risk of harm.” Barney v. Pulsipher, 143 F.3d 1299, 1307 (10th Cir. 1998). Plaintiffs can

establish notice “by proving the existence of a pattern of tortious conduct,” id., or by demonstrating

that their case belongs to a “narrow range of circumstances” where deliberate indifference can be

found absent a pattern of violations. Id. at 1307–08 (quoting Bd. of Cty. Comm’rs of Bryan Cty.,

Okl. v. Brown, 520 U.S. 397, 398 (1997)). Plaintiffs have not introduced any evidence suggesting


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     According to the Supreme Court:

             Predicting how a hypothetically well-trained officer would have acted under
             the circumstances may not be an easy task for the factfinder, particularly
             since matters of judgment may be involved, and since officers who are well
             trained are not free from error and perhaps might react very much like the
             untrained officer in similar circumstances. But judge and jury, doing their
             respective jobs, will be adequate to the task.

Harris, 489 U.S. at 391.
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a pattern of tortious conduct at Davis County Jail. Instead they ask the court to find that the risk of

constitutional harm to inmates was a “‘highly predictable’ or ‘plainly obvious’ consequence of”

operating Davis County Jail without medical protocols, and therefore the decision to eliminate the

protocols constituted deliberate indifference. See id. at 1308. Plaintiffs argue that Davis County’s

Jail Policy required a written medical policy and consequently Defendants were aware of the

obvious risks of not having one in place. The court disagrees. Violating the jail’s internal policy

may establish negligence, but it does not establish that Davis County’s lack of policy was so likely

to result in constitutional injury that it constitutes deliberate indifference. Plaintiffs need to

demonstrate the obviousness of the risk itself. While it is possible that the complete lack of written

medical protocols caused a deprivation of constitutional rights at the jail, Plaintiffs cannot point to

any evidence suggesting that the customs in place were insufficient to protect inmates from

constitutional injury. Plaintiffs’ motion is therefore denied because there are disputed issues of

material fact on the elements of both causation and state of mind.

           c. Defendant’s Cross-Motion for Summary Judgment

       The court denies Plaintiffs summary judgment on Plaintiffs’ second cause of action. The

court does not, however, dismiss this claim because Defendants only moved for summary

judgment against Davis County on the issues of qualified immunity, see Defs.’ Mot. S.J. at 10, and

lack of an underlying constitutional violation, see id. at 5 and 15, and the court has denied Davis

County summary judgment on both of those issues.

   3. Third Cause of Action: State Law Claim

       Defendants have also requested the court decline to exercise supplemental jurisdiction over

Plaintiffs’ state law claim in the event it dismisses Plaintiffs’ federal claims. Because the court has

denied Defendants summary judgment on at least some of Plaintiffs’ federal claims, the court



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determines it is appropriate to continue to exercise supplemental jurisdiction over Plaintiffs’ state

law claim.

                                            III.    ORDER

  I.   Defendants’ Motion for leave to file objections to declarations is DENIED (ECF No. 54).

 II.   Plaintiffs’ Motion for Summary Judgment is DENIED (ECF No. 31).

III.   Defendants’ Cross-Motion for Summary Judgment is GRANTED IN PART and DENIED

       IN PART (ECF No. 42). Specifically, the court orders that:

             A. Defendant Anderson is not entitled to qualified immunity on Plaintiffs’ first cause

                of action.

             B. Defendants Ondricek and Richardson are entitled to qualified immunity on

                Plaintiffs’ second cause of action. This claim is therefore dismissed with prejudice

                as to Defendants Ondricek and Richardson. Pursuant to Plaintiffs’ stipulation,

                Defendant Richardson is dismissed in his official capacity as well.

             C. Davis County is not entitled to qualified immunity on the second cause of action.

             D. Plaintiffs’ claims for punitive damages are dismissed against Davis County with

                prejudice.

             E. The court will continue to exercise supplemental jurisdiction over Plaintiffs’ state

                law claim.

Signed September 23, 2019

                                               BY THE COURT:




                                               ______________________________
                                               Jill N. Parrish
                                               United States District Court Judge

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